The record in this case is very meagre, but as well as can be discerned from the affidavits, and also from the terms of the mandamus granted by the court, the facts are as follows: At the general election held on the 2nd of November last, the respondents were the inspectors of election of the 16th election district of the 4th assembly district in the borough of Queens. After the conclusion of the election they canvassed the votes, certified the results of their canvass and filed their certificate required by law in the clerk's office of the county of Queens. Seventeen ballots were protested and, as required by the statute, were so indorsed by the inspectors of election and placed in a sealed envelope, which was also deposited with the clerk of Queens county. On the 5th of November the relator, a candidate for the office of justice of Municipal Court for the 4th district, on affidavits from two of the inspectors and a watcher, that these protested ballots had not been counted for either of the respective candidates, applied to the Special Term of the court for a mandamus directing the inspectors to canvass such ballots and correct their return in accordance with the result of such canvass. On the return day of the application, on November 8th, the two other inspectors appeared before the *Page 345 
court and admitted the fact to be as charged in the affidavit. The appellant De Groot, also a candidate for the office of justice, appeared in opposition. The application was granted, the inspectors directed to canvass the protested ballots and after the canvass correct their returns in conformity with the result of such canvass.
Unquestionably, under the terms of the statute, the inspectors should have counted these ballots for the respective candidates for which they were cast, leaving their validity to be thereafter determined by the court in a special proceeding taken for the purpose. It may be assumed that acting apparently in good faith, but misunderstanding the law, they as matter of fact did not count these ballots. Granting that this error was committed by the inspectors, the question remains whether there was any power in them, either on their own initiative, or upon the order of the court, to correct the error by changing the result of the canvass as certified by them and filed in the office of the county clerk. That this proceeding is not based on any provision of the Election Law, but on the common-law power of the court to issue a mandamus to public officers to compel the performance of their duty, is conceded by the learned judge who wrote in the Appellate Division, and is entirely clear. And it is also clear that unless the inspectors had the power to change their return without an order of the court the court had no authority to compel such change, for, with a few statutory exceptions a mandamus lies only to compel the performance of a duty which it was incumbent on the officer to perform before the mandamus was granted. Though the decisions are few and the question has not been presented to this court, it is the settled law of the state that after an election return has once been made the same cannot be altered, but the remedy for error or for fraud must be found in quo warranto. The first decision where this was held was People ex rel. Bailey v.Supervisors of Greene (12 Barb. 217), decided by the General Term of the third district, Judge IRA HARRIS writing for the court. This decision was universally accepted as a correct statement of the *Page 346 
law, and no authority can be found to question it. (See, also,People v. Cook, 8 N.Y. 69.) In 1880 a statute was passed (Ch. 460) authorizing the courts to reconvene boards of canvassers and to compel action. But the application of the statute was limited to boards of county canvassers. No law has ever authorized the correction of the original returns where they are regular on their face. In People ex rel. Russell v. Canvassers of Albany
(46 Hun, 390) the General Term of the third department held the inspectors had no power to file a different return. Judge LANDON said (p. 392): "This change of determination and statement was not within their power or jurisdiction to make, and was wholly invalid as an efficient and legal change of their first determination and statement. The law contemplates that the duties of the inspectors shall, in these respects, be as promptly performed as possible; for this purpose, among others, that the result may be determined and declared without any bias arising from a knowledge of its effect upon the aggregate result, or from exposure to subsequent influences. Like the verdict of a jurywhen once regularly delivered, the jurors themselves cannotoverthrow or defeat it." In this case the original returns appear to have been regular on their face. No discrepancy appears between the aggregate of the ballots voted, and the number of votes cast for the respective candidates and the number of ballots on which no vote for a candidate for justice was voted. But the learned judge who wrote the opinion below thought that the present case fell within the decision in People ex rel.Smith v. Schiellein (95 N.Y. 124), in which the town board having refused to make any canvass of the votes for justices of the peace, on the ground that there was no vacancy in the office, was compelled by mandamus to make the canvass. He thought the mandamus was in effect merely to make the inspectors complete an uncompleted canvass. It seems to me very clear that the original canvass made by the board of inspectors was incomplete only in the sense that every erroneous canvass is necessarily incomplete. The board assumed, by the filed declaration of the result of the count, to *Page 347 
show a count of all the ballots in the box, and that cannot be said, in any proper sense of the term, to be an incomplete canvass, though faulty and erroneous it may have been. A little thought, I think, will make this clear. The original return of the inspectors stated that on 36 ballots no vote for the office of municipal justice appeared. There was nothing in the statement of the inspectors to establish that the 17 protested ballots were part of these 36. How can it be told positively, without opening the box, whether this is the fact? It is an express contradiction of the original official return made by them and it may be that on opening the box there will appear 36 blank ballots in it. Suppose the inspectors had made affidavit that instead of merely the 17 ballots found in the envelope, the other 19 returned as blank also contained votes for the office of justice, could they be recounted? Yet, in what respect would the canvass be any more incomplete with reference to the 17 ballots found in the protested envelope than as to the 19 returned to the box? Suppose the inspectors had sworn in a case of void ballots that those had been counted by them under a mistaken view that the law directed the same disposition of them as of ballots marked for identification, would a mandamus issue to compel them to deduct those ballots from the several candidates? As I have already said, the original canvass of the inspectors was incomplete only in the sense that every erroneous determination by the board is incomplete, and if it is to be held that such alleged errors can be corrected on the affidavit of inspectors by varying the canvass as originally certified and filed, it will open the door to the greatest danger, and if the court was right in granting the mandamus it can only be on the theory that it was the duty of the inspectors to make a new return without the mandamus. In answer to my brother GRAY I may state that the tally sheet and original return are not in this record at all, but appear in an application for another mandamus made by the appellant subsequently. If, however, we refer to that record we will see that the return and tally sheet are on their face entirely complete and consistent. *Page 348 
De Groot's application for a mandamus was properly denied below because the effect of it was to compel the inspectors to disobey the mandamus previously granted, which we have already discussed. The relator's remedy was not by this second proceeding, but by appeal from the order made in the first. The action of the court below was, therefore, right.
The order in the first proceeding should be reversed and that in the second affirmed.
HAIGHT, VANN, WILLARD BARTLETT and CHASE, JJ., concur with GRAY, J.; CULLEN, Ch. J., reads dissenting opinion as to order granting mandamus, with whom EDWARD T. BARTLETT, J., concurs.
Orders affirmed.